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                    UNITED STATES COURT OF APPEALS
                                                                    FILED
                           FOR THE NINTH CIRCUIT
                                                                    JUN 13 2022
                                                                   MOLLY C. DWYER, CLERK
                                                                    U.S. COURT OF APPEALS




 AMICHAI OHRING, individually and              No. 21-35591
 on behalf of other similarly situated
 individuals,
                                               D.C. No. 2:21-cv-00359-TSZ
               Plaintiff - Appellee,           U.S. District Court for Western
                                               Washington, Seattle
   v.
                                               MANDATE
 UNISEA, INC.,

               Defendant - Appellant.


        The judgment of this Court, entered May 20, 2022, takes effect this date.

        This constitutes the formal mandate of this Court issued pursuant to Rule

41(a) of the Federal Rules of Appellate Procedure.

        Costs are taxed against the appellee in the amount of $151.60.

                                               FOR THE COURT:

                                               MOLLY C. DWYER
                                               CLERK OF COURT

                                               By: Nixon Antonio Callejas Morales
                                               Deputy Clerk
                                               Ninth Circuit Rule 27-7
